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                 EXHIBIT 1
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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

IN RE: ETHICON, INC.
PELVIC REPAIR SYSTEM,
PRODUCTS LIABILITY LITIGATION                                      MDL NO. 2327
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THIS DOCUMENT RELATES TO ALL CASES

      NOTICE TO TAKE VIDEO DEPOSITION OF DR. BRIDGETTE HELHAMMER

TO:     Defendant ETHICON, INC., and Johnson & Johnson, Inc., (hereinafter “Defendants”)

and its Attorneys of Record.

        Please take notice that in accordance with the Rules of Civil Practice and Procedure,

Plaintiffs, by and through their counsel, will take the videotaped deposition of DR. BRIDGETTE

HELHAMMER to begin on June 24, 2013, at 9:00 a.m., at the offices of Riker Danzig at One

Speedwell Avenue in Morristown, New Jersey. The deposition will be taken before a person

authorized by law to administer oaths, pursuant to the Federal Rules of Civil Procedure. The

deposition will be recorded by both stenographic and audiovisual means by Golkow

Technologies, Inc., and will continue day-to-day until the examination is completed.

        You are hereby requested to produce within 14 days in advance of the date of the

deposition, the documents and information set forth in Exhibit “A” annexed hereto, to the extent

such documents and information have not already been produced.

        This 5th Day of April, 2013.
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                                    PLAINTIFFS’ CO-LEAD COUNSEL


                                    By: ____/s/Thomas P. Cartmell_______________
                                       THOMAS P. CARTMELL
                                       Wagstaff & Cartmell LLP
                                       4740 Grand Avenue, Suite 300
                                       Kansas City, MO 64112
                                       816-701-1100
                                       Fax 816-531-2372
                                       tcartmell@wcllp.com


                                       D. RENEE BAGGETT
                                       Aylstock, Witkin, Kreis and Overholtz, PLC
                                       17 E. Main Street, Suite 200
                                       Pensacola, FL 32563
                                       850-202-1010
                                       850-916-7449
                                       Rbaggett@awkolaw.com
                                       Plaintiffs’ Co-Lead Counsel




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                             DEFINITIONS AND INSTRUCTIONS

       The following Definitions and Instructions shall apply to the Notice of Deposition. To

the extent a term commonly in use in the medical device industry is not defined herein, it shall be

understood to be consistent with the meaning commonly ascribed to that term in the medical

device industry.

       1.          "Document" means and includes the original and all non-identical copies or

drafts of the following items: agreements; drafts; e-mails; communications; correspondence;

telegrams; cables; facsimiles; memoranda; records; books; financial statements; summaries of

records or notes of personal conversations or interviews; diaries; calendars; forecasts;

statistical statements; accountants' work papers; graphs; charts; maps; diagrams; blue prints;

tables; indexes; pictures; recordings; tapes; microfilm; charge clips; accounts; analytical

records; minutes or records of meetings or conferences; reports and/or summaries of

investigations; opinions or reports of consultants; appraisals; reports and/or summaries of

negotiations; brochures; pamphlets; circulars; trade letters; press releases; contracts;

stenographic, handwritten or any other notes; projections; working papers; federal and state

income tax returns; checks, front and back; check stubs or receipts; shipping documents;

manifests; invoice vouchers; computer printouts and computer disks and tapes; and tape data

sheets or data processing cards or disks or any other written, recorded, transcribed, punched,

taped, filmed or graphic matters; however produced or reproduced. Document shall also

include any and all items defined under Fed. R. Civ. P. 34(a)(l).

       2.      "Communication" means every manner or means of disclosure or exchange

of information, regardless of means utilized, whether oral, written, electronic, or by

document or otherwise, and whether face-to-face, in a meeting, by telephone, mail, telex,

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discussion, release, personal delivery, or otherwise. Documents that typically reflect a

"communication" include letters, electronic-mail, instant messages, handwritten notes, call

logs, telephone memoranda, slips, daily appointment books and diaries, bills, checks,

correspondence, and memoranda, and includes all drafts of such documents.

        3.       "Person" means any natural or artificial person, including business entities and

other legal entities.

        4.       "And" or "or" shall be construed conjunctively or disjunctively as necessary to

make the requests inclusive rather than exclusive. The use of the word "including" shall be

construed to mean "without limitation."

        5.       Reference to the singular in any of these requests shall also include a reference to

the plural, and reference to the plural shall include a reference to the singular.

        6.       "Related to" or "relating to" shall mean directly or indirectly supporting,

evidencing, describing, mentioning, alluding to, referring to, contradicting, comprising or

concerning.

        7.      All documents should be produced which are not subject to an objection and are

known by, possessed or controlled by, or available to you, or your attorneys, representatives, or

other agents.

        8.       All documents are to be produced in their entirety, without abbreviation or

redaction, including both front and back thereof, and all attachments or other matters affixed

thereto.

        9.       These requests shall be deemed continuing so as to require further and

supplemental production by you in the event you obtain or discover additional documents

between the time of responding to this subpoena and the time of any hearing or trial.


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       10.     “Defendants”, “Ethicon”, “Ethicon, Inc.”, “Johnson & Johnson Inc.”, “you” or

“your” refers to, without limitation, Ethicon, Inc., and Johnson & Johnson Inc., and all business

entities with which it is or has been affiliated, together with any predecessor, successor, parent,

or subsidiary entity as well as any officer, director, employee, attorney, agent, or representative

of any such other business entity previously described herein.

       11.     “You” and “your” mean Defendants and any of its directors, officers, sales

representatives, agents (including attorneys, accountants, consultants, investment advisors or

bankers), employees, representatives and any other person purporting to act on its behalf. In the

case of business entities, these defined terms include divisions, affiliates, subsidiaries,

predecessor entities, acquired entities, related entities, or any other entity acting or purporting to

act on your behalf.

       12.      “TVT” or “TVT products” means the TVT “classic” Tension Free Vaginal Tape

System, as well as the TVT-Obturator, TVT-Secur, TVT-Exact, and TVT-Abbrevo which were

developed, designed, distributed, licensed, manufactured, marketed or sold for the treatment of

Stress Urinary Incontinence (SUI). The term “TVT” or “TVT products” also includes any kits or

tools designed to be sold with the TVT products including, but not limited to the TVT-AA and

TVT-D.

       13      “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold TVT to the present.

       14.        You are to produce all responsive documents to the undersigned counsel no

later than 14 days before the deposition.




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                                         EXHIBIT “A”

                                  DOCUMENT REQUESTS

       From any electronic or physical files kept, maintained, controlled or accessible by the

deponent or the Defendants, please produce the following:

       1.      All documents relied upon by the deponent in preparing for this deposition.

       2.      A copy of the current resume and/or curriculum vitae for the deponent.

       3.      A copy of the personnel file and/or employment file for the deponent.

       4.      All documents relating to the TVT products that are in the deponent’s personal

possession, meaning documents stored or maintained in the deponent’s dwelling, home, garage,

or any other property owned, rented, leased, maintained or lived in by defendant as well as any

documents or electronic media related to the TVT products which is stored or maintained on the

defendant’s personal property including but not limited to, personal computers, cell phones, flash

drives, or any potable storage media device.

       5.      All documents, notes, videos, or other information relating to TVT products that

the deponent sponsored, supported, edited, posted, and/or linked websites, FaceBook pages,

MySpace pages, Twitter pages, Wikipedia, or pages on any other websites.




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                                 UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF WEST VIRGINIA
                                             CHARLESTON DIVISION
----------------------------------------------------------- x
IN RE ETHICON, INC., PELVIC REPAIR                           : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                    : MDL No. 2327
LITIGATION                                                   :
------------------------------------------------------------ : Judge Joseph R. Goodwin
This Document Applies To All Actions                         :
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To:    Christy D. Jones, Esq.
       Butler, Snow, O’Mara Stevens & Cannada, PLLC
       1020 Highland Colony Parkway
       Suite 1400
       Ridgeland, MS 39157
       601-948-5711

                  PLAINTIFFS’ CERTIFICATE OF SERVICE OF
      NOTICE TO TAKE ORAL DEPOSITION OF DR. BRIDGETTE HELHAMMER

       I hereby certify that on April 5, 2013, I served Plaintiff’s Notice to Take Oral Deposition

of Dr. Bridgette Helhammer via email and the foregoing document was electronically filed with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.

                                     By: ____/s/Thomas P. Cartmell_______________
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                                          Plaintiffs’ Co-Lead Counsel
